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                              UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF SOUTH CAROLINA
                                  CHARLESTON DIVISION

Nautilus Insurance Company,                )     C/A No. 2:22-cv-1307-RMG
                                           )
                                Plaintiff, )
                 Versus                    )
                                           )             MOSS & KUHN, P.A.’S
Richard Alexander Murdaugh, Sr., Cory      )       SECOND AMENDED DESIGNATION OF
Fleming, Moss & Kuhn, P.A., Chad           )               DEPOSITION OF
Westendorf, and Palmetto State Bank,       )         JOHN M. GRANTLAND, ESQUIRE
                                           )
                               Defendants. )

                           DEPOSITION DESIGNATION FORM

     Deponent Name:         John M. Grantland, Esquire

     Date of Deposition:    March 12, 2024

     Offering Party:        Moss & Kuhn, P.A.

 Moss & Kuhn, P.A.’s        Nautilus            Nautilus Insurance
DESIGNATION                 Insurance           Company              OBJECTION (TO
                            Company             COUNTER              COUNTER
                            OBJECTION           DESIGNATION          DESIGNATION) OR
                            EXPLAIN                                  INDICATE
                            BASIS OF                                 WITHDRAWAL OF
                                                                     DESIGNATION
                            Objection 1: No
                            designations are
                            proper. Mr.
                            Grantland has
                            been
                            subpoenaed by
                            the
                            plaintiff and is
                            expected to
                            appear.

                            Objection 2: Mr.
                            Grantland is not
                            “unavailable” for
                            trial as he is
                            within
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                            the subpoena
                            scope of Fed. R.
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January 3, 2025
Charleston, South Carolina




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